                                  Case 19-13191-EPK                  Doc 1        Filed 03/12/19           Page 1 of 41

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Delta Materials, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4800 North Federal Highway, D306
                                  Boca Raton, FL 33433
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  9025 Church Rd Felda, FL 33930
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-13191-EPK                 Doc 1         Filed 03/12/19              Page 2 of 41
Debtor    Delta Materials, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Delta Materials, LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 19-13191-EPK                   Doc 1        Filed 03/12/19             Page 4 of 41
Debtor    Delta Materials, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ Michael De Simone                                                    Michael De Simone
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Bradley S. Shraiberg                                                  Date March 12, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bradley S. Shraiberg 121622
                                 Printed name

                                 Shraiberg Landau & Page PA
                                 Firm name

                                 2385 NW Executive Center Dr
                                 Suite 300
                                 Boca Raton, FL 33431
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561 443 0800                  Email address      bss@slp.law

                                 121622 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                          Case 19-13191-EPK                     Doc 1        Filed 03/12/19                Page 6 of 41


 Fill in this information to identify the case:
 Debtor name Delta Materials, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aqua Preserve Inc.                                                                                                                                                         $1,900.00
 9890 Bayshore Rd
 North Fort Myers, FL
 33917
 CAT Finance                                                    Lease 17 moths                                                                                            $43,285.57
 Services                                                       left
 PO Box 730681
 Dallas, TX
 75373-0681
 Dobbs Equipment                                                                                                                                                            $2,359.63
 2730 Falkenberg
 Road
 Riverview, FL 33578
 Florida Drilling &                                                                                                                                                       $12,000.00
 Supply
 1810 Seacrest Ave
 Immokalee, FL
 34142
 GFA International                                                                                                                                                          $9,185.19
 1215 Wallace Dr.
 Delray Beach, FL
 33444
 Harold Lightman                                                                                                                                                          $35,000.00
 712 US Hwy 1, Suite
 200
 North Palm Beach,
 FL 33408
 Harry Major                                                                                                                                                            $125,000.00
 PO Box 9249
 Santa Fe, NM 87504
 Heart Equipment                                                                                                                                                            $3,000.00
 PO Box 326
 Palm Harbor, FL
 34683




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                          Case 19-13191-EPK                     Doc 1        Filed 03/12/19                Page 7 of 41


 Debtor    Delta Materials, LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hermes Hialeah                                                 Case Pending:                                                                                         $1,200,000.00
 Warehouse, LLC                                                 CACE-17-013283(1
 Ted Doukas                                                     2)
 4713 Villa Mare Lane                                           17th Judicial
 Naples, FL 34103                                               Circuit, Broward
                                                                County
 Holland Pump                                                                                                                                                             $18,271.69
 7312 Westport Place
 West Palm Beach,
 FL 33413
 Metro Scale                                                                                                                                                                $2,300.00
 2130 Park 82 Dr
 Fort Myers, FL
 33905
 Michael Covino                                                                                                                                                             $7,000.00
 2900 Westchester
 Ave
 Purchase, NY 10577
 Nason Yeager                                                                                                                                                             $14,601.87
 Gerson Harris &
 Fumero, PA
 3001 PGA Blvd,
 Suite 305
 Palm Beach
 Gardens, FL 33410
 Phil Jim Rusty                                                                                                                                                             $3,000.00
 4085 SW Honey Terr
 Palm City, FL 34990
 SED Engineering                                                                                                                                                            $9,035.00
 660 Charlotte St,
 Suite 8
 Punta Gorda, FL
 33950
 South Florida Water                                                                                                                                                        $4,291.69
 Management
 301 Gun Club Rd
 West Palm Beach,
 FL 33416-4680
 Sweetapple Broeker                                                                                                                                                       $20,000.00
 & Varkas, PL
 4800 N. Federal
 Highway
 North Fort Myers, FL
 33917
 Thomas De Simone                                                                                                                                                       $350,000.00
 924 The Parkway
 Mamaroneck, NY
 10543
 Thomas Juliano                                                                                                                                                           $85,000.00
 12044 Classic Drive
 Coral Springs, FL
 33071


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Delta Materials, LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Whitelock &                                                    Case Pending:                                                                                             $27,000.00
 Associates, P.A.                                               CACE-18-027001(0
 300 SE 13th Street                                             9)
 Fort Lauderdale, FL                                            17th Judicial
 33316                                                          Circuit, Broward
                                                                County




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                            Case 19-13191-EPK                                    Doc 1               Filed 03/12/19                         Page 9 of 41
 Fill in this information to identify the case:

 Debtor name            Delta Materials, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       22,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              6,491.39

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       22,006,491.39


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        8,405,133.32


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,972,230.64


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,377,363.96




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                    Case 19-13191-EPK                    Doc 1     Filed 03/12/19           Page 10 of 41
 Fill in this information to identify the case:

 Debtor name         Delta Materials, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     TD Bank                                                 Checking                        5303                                     $3,741.39



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $3,741.39
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                    Case 19-13191-EPK                    Doc 1     Filed 03/12/19        Page 11 of 41

 Debtor         Delta Materials, LLC                                                          Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture                                                                $50.00                                            $50.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer, copier                                                               $200.00                                          $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $250.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
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 Debtor         Delta Materials, LLC                                                          Case number (If known)
                Name

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    CAT Excavater 329 - Lease                                          $2,500.00                                           $2,500.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                            $2,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     9025 Church Rd,                      Beneficial
                     Felda, FL 33930                      Interest                $22,000,000.00       Appraisal                     $22,000,000.00




 56.        Total of Part 9.                                                                                                       $22,000,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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 Debtor         Delta Materials, LLC                                                         Case number (If known)
                Name



        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 4
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                                      Case 19-13191-EPK                              Doc 1           Filed 03/12/19                  Page 14 of 41

 Debtor          Delta Materials, LLC                                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,741.39

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $250.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $22,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $6,491.39         + 91b.           $22,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $22,006,491.39




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                     Case 19-13191-EPK                       Doc 1          Filed 03/12/19          Page 15 of 41
 Fill in this information to identify the case:

 Debtor name         Delta Materials, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
       Legion Select Venture
 2.1                                                                                                                      $4,344,883.32           $22,000,000.00
       Fund, LLC                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                9025 Church Rd, Felda, FL 33930
       501 E. Pine St.
       Orlando, FL 32801
       Creditor's mailing address                     Describe the lien
                                                      Secured Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2/2017                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Newtek Small Business
       Finance, LLC
       2. Legion Select Venture
       Fund, LLC
       3. MSFL Leasing, LLC and
       Michael Shumaker

       MSFL Leasing, LLC and
 2.2                                                                                                                            Unknown           $22,000,000.00
       Michael Shumaker                               Describe debtor's property that is subject to a lien
       Creditor's Name                                9025 Church Rd, Felda, FL 33930
       12635 Royce Ct
       Carmel, IN 46033
       Creditor's mailing address                     Describe the lien
                                                      Secured Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                      Case 19-13191-EPK                      Doc 1          Filed 03/12/19             Page 16 of 41
 Debtor       Delta Materials, LLC                                                                     Case number (if know)
              Name

        5/2018                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

        Newtek Small Business
 2.3                                                                                                                         $4,060,250.00     $22,000,000.00
        Finance, LLC                                  Describe debtor's property that is subject to a lien
        Creditor's Name                               9025 Church Rd, Felda, FL 33930
        1981 Marcus Ave, Suite 180
        Lake Success, NY 11042
        Creditor's mailing address                    Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                        Disputed
        Specified on line 2.1

                                                                                                                               $8,405,133.3
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         2

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Legion Select Venture Fund, LLC
         c/o Michael Covino                                                                                     Line   2.1
         2900 Westchester Ave
         Purchase, NY 10577

         Newtek Small Business Finance, LLC
         60 Hempstead Ave, 2nd Flr                                                                              Line   2.3
         West Hempstead, NY 11552




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                    Case 19-13191-EPK                           Doc 1           Filed 03/12/19               Page 17 of 41
 Fill in this information to identify the case:

 Debtor name         Delta Materials, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           Florida Department of Revenue                             Check all that apply.
           P.O. Box 6668                                                Contingent
           Tallahassee, FL 32314-6668                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           Internal Revenue Service                                  Check all that apply.
           Attn: Special Procedures                                     Contingent
           P.O. Box 34045                                               Unliquidated
           Stop 572                                                     Disputed
           Jacksonville, FL 32202
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   40549                                  Best Case Bankruptcy
                                    Case 19-13191-EPK                           Doc 1           Filed 03/12/19              Page 18 of 41
 Debtor       Delta Materials, LLC                                                                            Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Internal Revenue Service                                   Check all that apply.
          P.O. Box 7346                                                 Contingent
          Philadelphia, PA 19114                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Office of Attorney General                                 Check all that apply.
          State of Florida                                              Contingent
          The Capitol PL-01                                             Unliquidated
          Tallahassee, FL 32399-1050                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          SEC Headquarters                                           Check all that apply.
          100 F Street, NE                                              Contingent
          Washington, DC 20549                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Securities and Exchange                                    Check all that apply.
          Commission                                                    Contingent
          801 Brickell Ave., Suite 1800                                 Unliquidated
          Miami, FL 33131                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 6
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                                    Case 19-13191-EPK                           Doc 1           Filed 03/12/19                Page 19 of 41
 Debtor       Delta Materials, LLC                                                                            Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           United States Attorney General's                          Check all that apply.
           Office                                                       Contingent
           US Department of Justice                                     Unliquidated
           950 Pennsylvania Avenue                                      Disputed
           Washington, DC 20530-0001
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           US Attorney Southern District of                          Check all that apply.
           Florida                                                      Contingent
           500 South Australian Avenue                                  Unliquidated
           Suite 400                                                    Disputed
           West Palm Beach, FL 33401
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,900.00
           Aqua Preserve Inc.                                                          Contingent
           9890 Bayshore Rd                                                            Unliquidated
           North Fort Myers, FL 33917                                                  Disputed
           Date(s) debt was incurred 2016
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $43,285.57
           CAT Finance Services                                                        Contingent
           PO Box 730681                                                               Unliquidated
           Dallas, TX 75373-0681                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Lease 17 moths left
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,359.63
           Dobbs Equipment                                                             Contingent
           2730 Falkenberg Road                                                        Unliquidated
           Riverview, FL 33578                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                                    Case 19-13191-EPK                      Doc 1         Filed 03/12/19                 Page 20 of 41
 Debtor       Delta Materials, LLC                                                                    Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Florida Drilling & Supply                                             Contingent
          1810 Seacrest Ave                                                     Unliquidated
          Immokalee, FL 34142                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,185.19
          GFA International                                                     Contingent
          1215 Wallace Dr.                                                      Unliquidated
          Delray Beach, FL 33444                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,000.00
          Harold Lightman                                                       Contingent
          712 US Hwy 1, Suite 200                                               Unliquidated
          North Palm Beach, FL 33408                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $125,000.00
          Harry Major                                                           Contingent
          PO Box 9249                                                           Unliquidated
          Santa Fe, NM 87504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Heart Equipment                                                       Contingent
          PO Box 326                                                            Unliquidated
          Palm Harbor, FL 34683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,200,000.00
          Hermes Hialeah Warehouse, LLC                                         Contingent
          Ted Doukas                                                            Unliquidated
          4713 Villa Mare Lane                                                  Disputed
          Naples, FL 34103
                                                                                              Case Pending: CACE-17-013283(12)
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             17th Judicial Circuit, Broward County
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,271.69
          Holland Pump                                                          Contingent
          7312 Westport Place                                                   Unliquidated
          West Palm Beach, FL 33413                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 6
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                                    Case 19-13191-EPK                      Doc 1         Filed 03/12/19                 Page 21 of 41
 Debtor       Delta Materials, LLC                                                                    Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,300.00
          Metro Scale                                                           Contingent
          2130 Park 82 Dr                                                       Unliquidated
          Fort Myers, FL 33905                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Michael Covino                                                        Contingent
          2900 Westchester Ave                                                  Unliquidated
          Purchase, NY 10577                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,601.87
          Nason Yeager Gerson Harris & Fumero, PA                               Contingent
          3001 PGA Blvd, Suite 305                                              Unliquidated
          Palm Beach Gardens, FL 33410                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Phil Jim Rusty                                                        Contingent
          4085 SW Honey Terr                                                    Unliquidated
          Palm City, FL 34990                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,035.00
          SED Engineering                                                       Contingent
          660 Charlotte St, Suite 8                                             Unliquidated
          Punta Gorda, FL 33950                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Shawn Karimi                                                          Contingent
          25218 Bunting Circle                                                  Unliquidated
          Land O Lakes, FL 34639                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,291.69
          South Florida Water Management                                        Contingent
          301 Gun Club Rd                                                       Unliquidated
          West Palm Beach, FL 33416-4680                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 6
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                                    Case 19-13191-EPK                      Doc 1         Filed 03/12/19                 Page 22 of 41
 Debtor       Delta Materials, LLC                                                                    Case number (if known)
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $20,000.00
           Sweetapple Broeker & Varkas, PL                                      Contingent
           4800 N. Federal Highway                                              Unliquidated
           North Fort Myers, FL 33917                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $350,000.00
           Thomas De Simone                                                     Contingent
           924 The Parkway                                                      Unliquidated
           Mamaroneck, NY 10543                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $85,000.00
           Thomas Juliano                                                       Contingent
           12044 Classic Drive                                                  Unliquidated
           Coral Springs, FL 33071                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $27,000.00
           Whitelock & Associates, P.A.                                         Contingent
           300 SE 13th Street                                                   Unliquidated
           Fort Lauderdale, FL 33316                                            Disputed
           Date(s) debt was incurred
                                                                                              Case Pending: CACE-18-027001(09)
                                                                             Basis for the claim:
           Last 4 digits of account number                                   17th Judicial Circuit, Broward County
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     1,972,230.64

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        1,972,230.64




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                                    Case 19-13191-EPK                 Doc 1     Filed 03/12/19            Page 23 of 41
 Fill in this information to identify the case:

 Debtor name         Delta Materials, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                17 months remaining
                                                                                    CAT Finance Services
             List the contract number of any                                        PO Box 730681
                   government contract                                              Dallas, TX 75373-0681




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                    Case 19-13191-EPK                Doc 1   Filed 03/12/19            Page 24 of 41
 Fill in this information to identify the case:

 Debtor name         Delta Materials, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Delta Aggregate,                  4800 North Federal Highway, D306                  Aqua Preserve Inc.                 D
             LLC                               Boca Raton, FL 33433                                                                 E/F       3.1
                                                                                                                                    G




    2.2      Delta Aggregate,                  4800 North Federal Highway, D306                  CAT Finance                        D
             LLC                               Boca Raton, FL 33433                              Services                           E/F       3.2
                                                                                                                                    G




    2.3      Delta Aggregate,                  4800 North Federal Highway, D306                  Dobbs Equipment                    D
             LLC                               Boca Raton, FL 33433                                                                 E/F       3.3
                                                                                                                                    G




    2.4      Delta Aggregate,                  4800 North Federal Highway, D306                  Florida Drilling &                 D
             LLC                               Boca Raton, FL 33433                              Supply                             E/F       3.4
                                                                                                                                    G




    2.5      Delta Aggregate,                  4800 North Federal Highway, D306                  GFA International                  D
             LLC                               Boca Raton, FL 33433                                                                 E/F       3.5
                                                                                                                                    G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Delta Aggregate,                  4800 North Federal Highway, D306             Harold Lightman                 D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.6
                                                                                                                            G




    2.7      Delta Aggregate,                  4800 North Federal Highway, D306             Harry Major                     D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.7
                                                                                                                            G




    2.8      Delta Aggregate,                  4800 North Federal Highway, D306             Heart Equipment                 D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.8
                                                                                                                            G




    2.9      Delta Aggregate,                  4800 North Federal Highway, D306             Hermes Hialeah                  D
             LLC                               Boca Raton, FL 33433                         Warehouse, LLC                  E/F       3.9
                                                                                                                            G




    2.10     Delta Aggregate,                  4800 North Federal Highway, D306             Holland Pump                    D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.10
                                                                                                                            G




    2.11     Delta Aggregate,                  4800 North Federal Highway, D306             Legion Select                   D   2.1
             LLC                               Boca Raton, FL 33433                         Venture Fund, LLC               E/F
                                                                                                                            G




    2.12     Delta Aggregate,                  4800 North Federal Highway, D306             Metro Scale                     D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.11
                                                                                                                            G




    2.13     Delta Aggregate,                  4800 North Federal Highway, D306             Michael Covino                  D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.12
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Delta Aggregate,                  4800 North Federal Highway, D306             MSFL Leasing, LLC               D   2.2
             LLC                               Boca Raton, FL 33433                         and Michael                     E/F
                                                                                            Shumaker
                                                                                                                            G




    2.15     Delta Aggregate,                  4800 North Federal Highway, D306             Nason Yeager                    D
             LLC                               Boca Raton, FL 33433                         Gerson Harris &                 E/F       3.13
                                                                                            Fumero, PA
                                                                                                                            G




    2.16     Delta Aggregate,                  4800 North Federal Highway, D306             Newtek Small                    D   2.3
             LLC                               Boca Raton, FL 33433                         Business Finance,               E/F
                                                                                            LLC
                                                                                                                            G




    2.17     Delta Aggregate,                  4800 North Federal Highway, D306             Phil Jim Rusty                  D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.14
                                                                                                                            G




    2.18     Delta Aggregate,                  4800 North Federal Highway, D306             SED Engineering                 D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.15
                                                                                                                            G




    2.19     Delta Aggregate,                  4800 North Federal Highway, D306             Shawn Karimi                    D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.16
                                                                                                                            G




    2.20     Delta Aggregate,                  4800 North Federal Highway, D306             South Florida Water             D
             LLC                               Boca Raton, FL 33433                         Management                      E/F       3.17
                                                                                                                            G




    2.21     Delta Aggregate,                  4800 North Federal Highway, D306             Sweetapple Broeker              D
             LLC                               Boca Raton, FL 33433                         & Varkas, PL                    E/F       3.18
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Delta Aggregate,                  4800 North Federal Highway, D306             Thomas De Simone                D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.19
                                                                                                                            G




    2.23     Delta Aggregate,                  4800 North Federal Highway, D306             Thomas Juliano                  D
             LLC                               Boca Raton, FL 33433                                                         E/F       3.20
                                                                                                                            G




    2.24     Delta Aggregate,                  4800 North Federal Highway, D306             Whitelock &                     D
             LLC                               Boca Raton, FL 33433                         Associates, P.A.                E/F       3.21
                                                                                                                            G




    2.25     Michael De                        4800 N. Federal Hwy, Suite B105              Legion Select                   D   2.1
             Simone                            Boca Raton, FL 33431                         Venture Fund, LLC               E/F
                                                                                                                            G




    2.26     Michael De                        4800 N. Federal Hwy, Suite B105              Michael Covino                  D
             Simone                            Boca Raton, FL 33431                                                         E/F       3.12
                                                                                                                            G




    2.27     Michael De                        4800 N. Federal Hwy, Suite B105              MSFL Leasing, LLC               D   2.2
             Simone                            Boca Raton, FL 33431                         and Michael                     E/F
                                                                                            Shumaker
                                                                                                                            G




    2.28     Michael De                        4800 N. Federal Hwy, Suite B105              Newtek Small                    D   2.3
             Simone                            Boca Raton, FL 33431                         Business Finance,               E/F
                                                                                            LLC
                                                                                                                            G




    2.29     Michael De                        4800 N. Federal Hwy, Suite B105              Whitelock &                     D
             Simone                            Boca Raton, FL 33431                         Associates, P.A.                E/F       3.21
                                                                                                                            G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Michael De                        4800 N. Federal Hwy, Suite B105              Hermes Hialeah                  D
             Simone                            Boca Raton, FL 33431                         Warehouse, LLC                  E/F       3.9
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Delta Materials, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $31,605.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $240,446.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $62,169.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               South Florida Water Management                              12/12/2018                           $858.33               Secured debt
               3301 Gun Club Rd                                                                                                       Unsecured loan repayments
               West Palm Beach, FL 33406                                                                                              Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Harold Lightman, CPA                                        1/28/2019                            $890.00               Secured debt
               712 US Higway 1, Suite 200                                                                                             Unsecured loan repayments
               North Palm Beach, FL 33408                                                                                             Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               Whitelock & Associates, P.A.                                2/1/2019,                          $6,000.00               Secured debt
               300 SE 13th Street                                          3/1/2019                                                   Unsecured loan repayments
               Fort Lauderdale, FL 33316                                                                                              Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               SED Engineering                                             2/5/2019                             $500.00               Secured debt
               660 Charlotte St, Suite 8                                                                                              Unsecured loan repayments
               Punta Gorda, FL 33950                                                                                                  Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Michael De Simone                                                                            $45,000.00           Officer Compensation
               4800 N. Federal Hwy, Suite B105
               Boca Raton, FL 33431

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




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           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and              Status of case
               Case number                                                                   address
       7.1.    Legion Select Venture Fund,                      Civil                        9th Judicial Circuit - Orange               Pending
               LLC v. Delta Aggregate, LLC,                                                  County                                      On appeal
               et al.,                                                                       425 N. Orange Ave
                                                                                                                                         Concluded
               2017CA007515A001OX                                                            Orlando, FL 32801

       7.2.    Whitelock & Associates, P.A.                     Civil                        17th Judicial Circuit                       Pending
               v. Delta Aggregate, LLC, et                                                   Broward County                              On appeal
               al.,                                                                          Courthouse
                                                                                                                                         Concluded
               CACE-18-027001 (09)                                                           201 SE 6th St
                                                                                             Fort Lauderdale, FL 33301

       7.3.    Hermes Hialeah Warehouse,                        Civil                        17th Judicial Circuit                       Pending
               LLC v. Delta Aggregate, LLC,                                                  Broward County                              On appeal
               and Michael De Simone                                                         Courthouse
                                                                                                                                         Concluded
               CACE-17-013283(12)                                                            201 SE 6th St
                                                                                             Fort Lauderdale, FL 33301


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

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11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Shraiberg Landau & Page PA
                 2385 NW Executive Center Dr
                 Suite 300                                                                                                     2/8/2019;
                 Boca Raton, FL 33431                                Attorney Fees                                             2/14/2019                $30,000.00

                 Email or website address
                 bss@slp.law

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer              Total amount or
                Address                                         payments received or debts paid in exchange              was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services               If debtor provides meals
                                                                the debtor provides                                                        and housing, number of
                                                                                                                                           patients in debtor’s care
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 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was           Last balance
               Address                                          account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
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      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Harold Lightman, CPA                                                                                                       2017-2019
                    712 US Higway 1, Suite 200
                    North Palm Beach, FL 33408
       26a.2.       Casey De Simone                                                                                                            2017-2019
                    924 Parkway
                    Mamaroneck, NY 10543
       26a.3.       Michael De Simone                                                                                                          2017-2019
                    4800 N. Federal Hwy, Suite B105
                    Boca Raton, FL 33431
       26a.4.       Michael Shumaker                                                                                                           2017-2019
                    12635 Royce Ct
                    Carmel, IN 46033

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
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          within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Harold Lightman, CPA
                    712 US Higway 1, Suite 200
                    North Palm Beach, FL 33408
       26c.2.       Casey De Simone
                    924 Parkway
                    Mamaroneck, NY 10543
       26c.3.       Michael De Simone
                    4800 N. Federal Hwy, Suite B105
                    Boca Raton, FL 33431
       26c.4.       Michael Shumaker
                    12635 Royce Ct
                    Carmel, IN 46033

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael De Simone                              4800 N. Federal Hwy, Suite B105                     President/Manager                     100%
                                                      Boca Raton, FL 33431



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?



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 Debtor      Delta Materials, LLC                                                                       Case number (if known)




            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 12, 2019

 /s/ Michael De Simone                                                  Michael De Simone
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Delta Materials, LLC                                                                         Case No.
                                                                                  Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       March 12, 2019                                            /s/ Michael De Simone
                                                                       Michael De Simone/Manager
                                                                       Signer/Title




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            Aqua Preserve Inc.
            9890 Bayshore Rd
            North Fort Myers, FL 33917


            CAT Finance Services
            PO Box 730681
            Dallas, TX 75373-0681


            Delta Aggregate, LLC
            4800 North Federal Highway, D306
            Boca Raton, FL 33433


            Dobbs Equipment
            2730 Falkenberg Road
            Riverview, FL 33578


            Florida Department of Revenue
            P.O. Box 6668
            Tallahassee, FL 32314-6668


            Florida Drilling & Supply
            1810 Seacrest Ave
            Immokalee, FL 34142


            GFA International
            1215 Wallace Dr.
            Delray Beach, FL 33444


            Harold Lightman
            712 US Hwy 1, Suite 200
            North Palm Beach, FL 33408


            Harry Major
            PO Box 9249
            Santa Fe, NM 87504


            Heart Equipment
            PO Box 326
            Palm Harbor, FL 34683


            Hermes Hialeah Warehouse, LLC
            Ted Doukas
            4713 Villa Mare Lane
            Naples, FL 34103
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        Holland Pump
        7312 Westport Place
        West Palm Beach, FL 33413


        Internal Revenue Service
        Attn: Special Procedures
        P.O. Box 34045
        Stop 572
        Jacksonville, FL 32202


        Internal Revenue Service
        P.O. Box 7346
        Philadelphia, PA 19114


        Legion Select Venture Fund, LLC
        501 E. Pine St.
        Orlando, FL 32801


        Legion Select Venture Fund, LLC
        c/o Michael Covino
        2900 Westchester Ave
        Purchase, NY 10577


        Metro Scale
        2130 Park 82 Dr
        Fort Myers, FL 33905


        Michael Covino
        2900 Westchester Ave
        Purchase, NY 10577


        Michael De Simone
        4800 N. Federal Hwy, Suite B105
        Boca Raton, FL 33431


        MSFL Leasing, LLC and Michael Shumaker
        12635 Royce Ct
        Carmel, IN 46033


        Nason Yeager Gerson Harris & Fumero, PA
        3001 PGA Blvd, Suite 305
        Palm Beach Gardens, FL 33410
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        Newtek Small Business Finance, LLC
        1981 Marcus Ave, Suite 180
        Lake Success, NY 11042


        Newtek Small Business Finance, LLC
        60 Hempstead Ave, 2nd Flr
        West Hempstead, NY 11552


        Office of Attorney General
        State of Florida
        The Capitol PL-01
        Tallahassee, FL 32399-1050


        Phil Jim Rusty
        4085 SW Honey Terr
        Palm City, FL 34990


        SEC Headquarters
        100 F Street, NE
        Washington, DC 20549


        Securities and Exchange Commission
        801 Brickell Ave., Suite 1800
        Miami, FL 33131


        SED Engineering
        660 Charlotte St, Suite 8
        Punta Gorda, FL 33950


        Shawn Karimi
        25218 Bunting Circle
        Land O Lakes, FL 34639


        South Florida Water Management
        301 Gun Club Rd
        West Palm Beach, FL 33416-4680


        Sweetapple Broeker & Varkas, PL
        4800 N. Federal Highway
        North Fort Myers, FL 33917


        Thomas De Simone
        924 The Parkway
        Mamaroneck, NY 10543
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        Thomas Juliano
        12044 Classic Drive
        Coral Springs, FL 33071


        United States Attorney General's Office
        US Department of Justice
        950 Pennsylvania Avenue
        Washington, DC 20530-0001


        US Attorney Southern District of Florida
        500 South Australian Avenue
        Suite 400
        West Palm Beach, FL 33401


        Whitelock & Associates, P.A.
        300 SE 13th Street
        Fort Lauderdale, FL 33316
